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    November 26, 2024

    VIA ECF

    Judge Lewis J. Liman
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

         Re:    Chan v. U.S. Dep’t of Transp., No. 23 Civ. 10365 (S.D.N.Y.) (LJL); New Yorkers
                Against Congestion Pricing Tax v. U.S. Dep’t of Transp., No. 24 Civ. 367 (S.D.N.Y.)
                (LJL); Mulgrew v. U.S. Dep’t of Transp., No. 24 Civ. 1644 (S.D.N.Y.) (LJL);
                Trucking Association of New York v. Metropolitan Transportation Authority, No. 24
                Civ. 04111 (S.D.N.Y.) (LJL)

Dear Judge Liman,

        We write on behalf of all parties in the above-captioned actions to set forth our common
understanding of the briefing schedules on upcoming motions in accordance with the Court’s
directive at the conference held on November 21, 2024 and in light of subsequent events. As the
Court is aware from the Federal Defendants’ filing of notice of lodging of the supplemental
administrative record (ECF Nos. 129 (Chan), 117 (Mulgrew), 117 (New Yorkers), the Federal
Highway Administration has approved the second reevaluation for the Central Business District
Tolling Program, and it was published on the MTA website on November 22. 1 With this in mind,
the parties understand that pursuant to the Court’s direction, the following schedules apply.

Schedule for Remaining Motions to Dismiss and Preliminary Injunction in Constitutional Claims

                                                       Proposed Deadline
            Plaintiffs’ Oppositions to Defendants’ 11/25/2024
            Motions to Dismiss and Plaintiffs’ Motions
            to Supplement the Record (if any)
            Plaintiffs’ Motions for a Preliminary 11/29/2024
            Injunction (if any)




1
  MTA, Re-Evaluation 2 and VPPP Agreement, https://new.mta.info/project/CBDTP/reevaluation2-and-vppp-
agreement.
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          Defendants’ Replies in Further Support of 12/2/2024
          Motions to Dismiss and Oppositions to
          Motions for a Preliminary Injunction
          Plaintiffs’ Replies in Further Support of 12/6/2024
          Motions for a Preliminary Injunction

       With respect to the claims raised under the National Environmental Policy Act (“NEPA”),
the Court’s direction that the first briefs should be filed within 7 days of the publication of the
second reevaluation would result in a briefing schedule completed on Saturday, December 14,
2024. Counsel for the Chan and Mulgrew plaintiffs requested an extension of time to file their
motions for summary judgment and a preliminary injunction, if any, to accommodate the
Thanksgiving holiday. Although the following schedule deviates from that directed by the Court,
the Defendants do not object to the following schedule, assuming it is acceptable to the Court. The
below schedule includes claims raised under the State Administrative Procedure Act (“SAPA”).

   Schedule for Cross Motions for Summary Judgment and Preliminary Injunction in Claims
                             Brought Under NEPA and SAPA

                                                           Proposed Deadline
          Plaintiffs’ Motions for Summary Judgment         12/2/2024
          and for a Preliminary Injunction (if any)
          Defendants’ Oppositions and Cross Motions        12/9/2024
          for Summary Judgment and Oppositions to
          Motions for a Preliminary Injunction
          Plaintiffs’ Oppositions to Cross Motions and     12/12/2024
          Replies in Further Support of Motions for
          Summary Judgment and for a Preliminary
          Injunction
          Defendants’ Replies in Further Support of        12/17/2024
          Cross Motions for Summary Judgment

     Under the above schedules, we contemplate that the hearing currently scheduled for
December 20, 2024 would be maintained, subject to the parties’ confirmation by no later than
November 27.

       We thank the Court for its consideration of this schedule and for its attention to this matter.


                                                              Respectfully submitted,

                                                              /s/ Mark A. Chertok
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                                                              Elizabeth Knauer
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